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                                                               Application denied at this time. The parties are
By Email and ECF                                               directed to appear for a telephone conference on
                                                               January 19, 2021 at 12:00 p.m. at which the request
                                          December 23, 2020    for termination will be discussed. Counsel should be
                                                               prepared to address what if any plans Mr. McNicholas
                                                               has related to housing and support services in
                                                               Pittsburgh should he move to that area. I also request
                                                               that Probation Officer Courtney Cook be available to
Honorable Vernon S. Broderick                                  participate in the telephone conference. The parties
United States District Judge                                   should dial into 888-363-4749 and use access code
United States Courthouse                                       2682448 for the conference.
40 Foley Square
New York, NY 10007
                                                                                                          1/11/2021
                                   Re:    United States v. Kevin McNicholas
                                          18 Cr. 727 (VSB)

 Dear Judge Broderick:

       This letter is respectfully submitted to request that both the pending violation of
 supervised release and Mr. McNicholas’ period supervised release be terminated.

        On May 10, 2019, Your Honor sentenced Kevin McNicholas to time served (526
 days of imprisonment) and three years of supervised release. As Your Honor is aware
 from previous submissions, Mr. McNicholas has a long history of severe mental and
 substance abuse issues. The VOSR currently pending before Your Honor concerns
 personal drug use and not new criminal activity.

        This request is being made in light of recent changes in Mr. McNicholas’
 circumstances. Thanks largely to the efforts Jenny Crawford, the mitigation specialist
 that Your Honor appointed to work on this matter, Mr. McNicholas is now receiving
 disability insurance payments. Now that he has a steady source of income, Mr.
 McNicholas would like to move to Pittsburgh, Pennsylvania where his income would
 permit him to get his own apartment and provide for his necessary expenses. Clearly,
 his limited economic resources will go further in Pittsburgh than they would in New
 York.

       The other significant change of circumstance is a direct result of the COVID-19
 pandemic. Under our current conditions, the availability of mental health and drug
 counseling are limited at best.

      Pursuant to 18 U.S.C § 3583(e)(1) Your Honor is authorized to terminate Mr.
 McNicholas’s term of supervised release once he has completed one year of supervised
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 release and after considering the factors set out in 18 U.S.C § 3553(a), Your Honor
 determines that the relief is warranted and in the interest of justice.

         Section 3553(a) requires Your Honor to consider the nature and circumstances
 of the offense which was a non-violent bank fraud. Mr. McNicholas was recruited into
 the fraud to open bank accounts and deposit checks. He was the lowest level
 participant in the offense. As discussed throughout this submission, Mr. McNicholas
 has a long history of serious mental illness. He has been taking his medications as
 directed and is able to function outside of an institutional setting. That said, Mr.
 McNicholas will always live on the fringe of society as his mental illness and history of
 drug abuse make it impossible for him to achieve the level of success that his
 intelligence would otherwise permit him to achieve.

        As Mr. McNicholas was a low level participant who was recruited into the
 offense, the sentence of time served was sufficient to promote respect for the law, and
 to provide just punishment for the offense. For these same reasons, this is case which
 does not require either general and specific adequate deterrence.

       The final goal of sentencing as set out is section 3553(a) is to provide the
defendant with needed educational or vocational training, medical care, or other
correctional treatment in the most effective manner. As mentioned above, the pandemic
has made it almost impossible to provide services to Mr. McNicholas.

       I have discussed this request to terminate Mr. McNicholas’ supervision and his
moving to Pennsylvania with both Assistant United States Attorney Drew Skinner and
United States Probation Office Courtney Cooke, who has been supervising Mr.
McNicholas. I am sure that AUSA Skinner will soon inform Your Honor of the
Government’s position on this request. Officer Cooke provided the below view of this
request via email:

               While the proposed plan to move to PA makes sense, I don’t feel it is
               enough justification for an early termination. However, it is important to
               note that McNicholas has made some progress towards rehabilitation.
               While there is still work to be done, we believe he has maximized his
               potential on supervised release. McNicholas will always have challenges
               due to his history of drug use and mental health however he learned and
               has shown the ability to navigate the system on his own and has secured
               benefits which may assist him in creating a stronger foundation. He also
               has the ability to navigate outpatient treatment should he choose to
               continue with this. Additionally, there has been no evidence of him
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               engaging in criminal activity while under supervision. Therefore, we
               (Probation) do not oppose the early termination request. Any questions
               please let me know.

        Mr. McNicholas has been doing the best that he can. Ms. Crawford and I
 assume that we have become part of his permanent support system and we expect to
 continue to hear from him until such time as he establishes a new support system,
 should that ever come to pass. In light of his new economic independence and his law
 abiding behavior, we respectfully request that Your Honor grant this request and
 terminate both the pending violation of Supervised Release and end Mr. McNicholas’
 supervision.

                                           Respectfully submitted,

                                            s/Andrew Patel
                                           Andrew G. Patel


cc:    Drew Skinner
       Assistant United States Attorney (by email and ECF)

       Courtney Cooke
       U.S. Probation Officer (by email)

       Jenny Crawford (by email)
